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IN THE UNITED sTATEs DISTRICT CoURT 05 AUG 22 AH IO'
FoR THE wEsTERN DISTRICT oF TENNESSEE ' 3'
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SOUTHEAST MENTAL HEALTH CENTER, INC.,
a Tennessee not-for-profit corporation,

Plaintiff,
vs. Cause No. 2:04cv§§13-M1/V

PACIFIC INSURANCE COMPANY, LIMITED,

Defendant.

' "` ‘ ` ° " ` AMENDED RULE 16(b) SCHEDULING ORDER

Pursuant to the scheduling conference Set by Written notice, the following dates have
been established as the final dates for:
COMPLETING ALL DISCOVERY: October 20, 2005
a) DOCUMENT PRODUCTION: October 20, 2005

b) DEPOSITIONS, ]NTERROGATORIES AND REQUESTS FOR
PRODUCTION: October 20, 2005

c) EXPERT WITNESS DISCLOSURES (Rule 26)

l) DISCLOSURE OF PLAINTIFF'S RULE 26 EXPERT
INFORMATION: Auggst 29, 2005

2) DISCLOSURE OF DEFENDANTS‘ RULE 26 EXPERT
INFORMATION: September 29, 2005

 

3) Expert Witness Depositions: October 20 2005

Th:'s document entered on the docket heat in compliance
with mile 53 and/or 79(3) FncP on ' ' cQ/(@

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FILING DISPOSITIVE MOTIONS: December 9 2005

 

FlNAL LISTS OF WITNESSES AND EXH[BITS (Rule 26(a)(3)):

a) For Plaintift`: Thirtv (30) days prior to trial

b) For Defendants: Twenty 1201 days prior to trial

c) Parties shall have ten (10) days after Service of opposition‘s final witness
and/or exhibit list to tile objections under Rule 26(a)(3)

OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery deadline All
motions, written discovery, or other filings that require a response must be filed
sufficiently in advance of the discovery deadline so as to enable opposing counsel to
respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline
or within thirty 1301 days of the default or the service of the response, answer, or
obj ection if the default occurs Within thirty (30) days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the objection to the
default, response, answer, or objection shall be waived.

This case is set for NON-JURY TRIAL and the trial is expected to last three (3)
days. The pretrial order date, pretrial conference date, and trial date will be set by the
presiding judge.

 

The parties are reminded that, pursuant to Local Rule ll(a)(l)(A), all motions, except
motions pursuant to Fed.R.Civ.P. 12, 56, 59, and 60, must be accompanied by a proposed order.

The opposing party on any motion may tile a response to any motion filed in this matter..
Neither party may flle an additional reply, however, Without leave of the court. lf a party
believes that a reply is necessary, it shall tile a motion for leave to file a reply accompanied by a
memorandum setting forth the reasons for which a reply is required

The parties have not consented to trial before the Magistrate .`fudge.

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This Order has been entered after consultation with trial counsel pursuant to
notice. Absent good cause shown, the scheduling dates set by this Order will not be

modified or extended 0 m § OLQU

JON .MCCALLA
UN o STArEs DIsTRlCT JUDGE

 

DATE:

 

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By:

 

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ATToRNEYs FoR DEFENDANT

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:04-CV-025]3 was distributed by faX, mail, or direct printing on
August 22, 2005 to the parties listed

 

 

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Honorable .l on l\/lcCalla
US DISTRICT COURT

